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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

    MICHAEL RUBIN, Derivatively on Behalf              Case No.:
    of MATCH GROUP, INC.,

                      Plaintiff,

                 v.                                    VERIFIED SHAREHOLDER
                                                       DERIVATIVE COMPLAINT
    JOSEPH M. LEVIN, AMANDA
    GINSBERG, ANN L. MCDANIEL,
    THOMAS J. MCINERNEY, GLENN H.                      JURY TRIAL DEMANDED
    SCHIFFMAN, PAMELA S. SEYMON,
    ALAN G. SPOON, MARK STEIN, GREGG
    WINIARSKI, and SHARMISTHA
    DUBEY,

                      Defendants,

    and

    MATCH GROUP, INC.,


                      Nominal Defendant.




       Plaintiff Michael Rubin, through his undersigned attorneys, brings this derivative action

on behalf of Nominal Defendant Match Group, Inc. (“Match Group” or the “Company”) against

certain officers and directors of the Company. Plaintiff alleges the following upon personal

knowledge with respect to himself and his own acts, and as to all other matters upon information

and belief, based upon the substantial investigation of his counsel, including, among other things,

an analysis of: (i) the Company’s filings with the United States Securities and Exchange

Commission (“SEC”); (ii) an action brought by the Federal Trade Commission (the “FTC”) against

the Company captioned Federal Trade Commission v. Match Group, Inc., Case No. 3:19-cv-

02281-K (N.D. Tex.); (iii) a federal securities class action lawsuit captioned Crutchfield v. Match




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Group, Inc., et al., Case No. 3:19-CV-2356-E (N.D. Tex.); and (iv) news articles, analyst reports,

media reports, and other publicly available information.


                                I.   NATURE OF THE ACTION

          1.    This is a stockholder derivative action brought on behalf of nominal defendant

Match Group to recover the damages caused by its directors’ and officers’ breaches of fiduciary

duty and other misconduct and to cause the Company to implement and maintain an adequate

system of internal controls and corporate governance practices and procedures.

          2.    In its Annual Report on Form 10-K filed with the SEC on February 28, 2019 (the

“2018 10-K”), Match Group disclosed that nearly two years priors to the filing of the 10-K the

FTC commenced an investigation into the Company’s practices on Match.com, one of the online

dating sites it operates.

          3.    On September 25, 2019, the FTC’s investigation culminated in the agency’s filing

of a lawsuit against the Company for violations of the Federal Trade Commission Act (“FTCA”)

and the Restore Online Shoppers Confidence Act (“ROSCA”). The FTC alleged, among other

things, that: (a) Match Group sent consumers misleading advertisements that tout communications

from persons the Company identified as potentially fraudulent users of Match.com and led

consumers to believe that the communications are from persons interested in establishing a dating

relationship with them. The purpose of doing so was to induce nonsubscribers to pay for a

subscription since only subscribers may respond to communications; (b) Match Group exposed

consumers to the risk of fraud by providing recent subscribers access to communications that the

Company knew was likely to have been sent by persons engaging in fraud; (c) the Company

guaranteed certain consumers a free six-month subscription renewal if they fail to “meet someone

special” but failed to disclose the requirements of its “guarantee” adequately; (d) Match Group


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misled consumers with a confusing and cumbersome cancellation process that causes consumers

to believe that they have canceled their subscriptions when they have not; and (e) when consumers

disputed charges with their credit card companies relating to any of these practices and lost the

dispute, the Company denied consumers access to the service for which they had already paid.

         4.    According to the FTC, the Company brazenly continued its misconduct even after

being informed that the FTC was investigating. In fact, the FTC alleges that the latter three

categories of legal violations were engaged in by the Company through mid-2019.

         5.    The misconduct pled in the FTC complaint subjected Match.com users to the

material risks of fraud and deception, and the Company to the material risk of lawsuits, regulatory

action, and reputational harm. The Company’s directors and officers were plainly on notice of

these risks as they are expressly acknowledged in the Company’s public filings. Likewise, the

failure to disclose the existence of the FTC investigation for nearly two years exposed the

Company to material risks to its financial condition and business prospects.

         6.    During the time that the FTC investigation was ongoing, but not disclosed publicly,

certain directors and officers sold over eighty million dollars of their Match Group shares. Indeed,

Amanda Ginsberg (“Ginsberg”), the Company’s Chief Executive Officer (“CEO”), sold 63% of

her shares in August 2018 alone, reaping proceeds of over $5.8 million.

         7.    As a result of the misconduct of its directors and officers, Match Group now faces

substantial liability. Not only has the Company been sued by the FTC, but in the wake of the filing

of the FTC action a securities class action lawsuit was filed against the Company, Ginsberg, and

its Chief Financial Officer (“CFO”) Defendant Gary Swidler (“Swidler”).

         8.    The Match Group Board was repeatedly presented with red flags of misconduct,

but failed to take action to prevent, or at least minimize, the damage that resulted to the Company

and its shareholders therefrom. Indeed, after its IPO, Match.com was named in consumer class
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action litigation for practices similar to those alleged in the FTC Complaint and over 1,600

complaints were filed by consumers with the Better Business Bureau, the FBI’s Internet Crime

Complaint Center (“IC3”), and state attorneys general offices seeking to recover damages resulting

from misconduct such as that flagged by the FTC. Media reports in prominent publications, as

well as an authoritative guide published by the Better Business Bureau, plainly cautioned online

dating services of the proliferation of fraudulent accounts on such platforms. Moreover, the FTC’s

commencement of an investigation into the Company’s practices was a clear red flag that obligated

the Match Group Board to act. The Match Group Board, however, utterly failed to take notice of

these red flags, and continued to, among other things, permit or authorize the Company to engage

in such misconduct.

          9.    Plaintiff brings this action derivatively to recover the damages suffered by Match

Group as a result of the breaches of fiduciary duty of its directors and officers, and to effect changes

to the Company’s corporate governance practices and internal control procedures. Plaintiff made

no demand upon the Match Group Board before initiating this action since it would be a wasteful

and futile act. The Match Board consists of individuals who are neither disinterested nor

independent since they are members of Match Group management, benefitted themselves through

improper insider stock sales, face a substantial likelihood of liability for the misconduct described

herein, and/or are otherwise deeply entangled and connected with IAC/InterActiveCorp (“IAC”),

a holding company that owns 80% of Match Group’s shares, or Barry Diller, IAC’s controlling

shareholder, so that there is reasonable doubt that they could act in a disinterested or independent

manner.

                               II.    VENUE AND JURISDICTION

          10.   The Court has jurisdiction over the causes of action asserted under Section 14(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule 14a-9 promulgated
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thereunder by the SEC, pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.

Supplemental Jurisdiction over the remaining claims exists pursuant to 28 U.S.C. § 1367. This

action is not a collusive action designed to confer jurisdiction on a court of the United States that

it would not otherwise have.

         11.   This Court has jurisdiction over each Defendant named herein because each

Defendant is either a corporation that conducts business in and maintains operations in this District,

is an individual who has sufficient minimum contacts with this District to render the exercise of

jurisdiction by the District courts permissible under traditional notions of fair play and substantial

justice, or served as a director or officer of a corporation duly incorporated under the laws of the

State of Delaware.

         12.   Venue is proper in this Court in accordance with 28 U.S.C. § 1391(a) because: (i)

Match Group is incorporated under the laws of the State of Delaware; and (ii) Defendants have

received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District.

                                          III.   PARTIES

         13.   Plaintiff Michael Rubin is a current owner of Match Group common stock, owned

Match Group common stock at the time of the transactions complained of herein and has

continuously owned such shares since the Company’s Initial Public Offering (the “IPO”) on

November 19, 2015.

         14.   Nominal Defendant Match Group is duly incorporated under the laws of the State

of Delaware, with its principal place of business and executive offices at 8300 Douglas Avenue,

Dallas, Texas 75225. Match Group is an internet company that provides dating products through

websites it owns and operates. The Company operates a portfolio of brands including Match.com,

Tinder, PlentyOfFish, Meetic, OkCupid, OurTime, and Pairs. As Match Group states in its Annual
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Report on Form 10-K for the fiscal year ended December 31, 2017, filed with the SEC on March

1, 2018 (the “2017 10-K”), the Company relies on subscribers for the majority of its revenue.

           Our revenue is primarily derived directly from users in the form of recurring
           subscriptions, which typically provide unlimited access to a bundle of features for
           a specific period of time, and the balance from à la carte features, where users pay
           a non-recurring fee for a specific action or event. Each of our brands offers a
           combination of free and paid features targeted to its unique community.

             15.    Defendant Joseph M. Levin (“Levin”) has served as Match Group’s Chairman of

the Board (“Chairman”) since December 2017 and a director since October 2015. Levin has also

served as CEO of IAC, Match Group’s controlling shareholder, since June 2015. Levin also serves

as Chairman of ANGI Homeservices Inc. (“ANGI”) since it went public in September 2017

through the merger of Angie’s List and IAC’s HomeAdvisor.1 As the Company acknowledged in

its Proxy Statement filed with the SEC on April 30, 2018 (the “2018 Proxy”), Levin is not

independent by reason of his executive position at IAC. During the relevant period, IAC paid

Levin the following compensation:

    Fiscal         Salary     Bonus         Stock        Option        All Other          Total
    Year                                   Awards        Awards      Compensation

    2018      $1,000,000 $5,000,000           —             —           $315,554       $6,315,554

    2017      $1,000,000 $4,000,000           —         $7,662,000      $378,729       $13,040,729

    2016      $1,000,000 $2,500,000 $4,037,000 $2,580,000               $358,980       $10,475,980


             16. Defendant Amanda Ginsberg (“Ginsberg”) has served as Match Group’s CEO since

August 2017 and a director since December 2017. On January 28, 2020, Ginsberg announced that

she would be stepping down from the CEO position as of March 1, 2020. Previously, Ginsberg




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    IAC owns over 80% of ANGI shares.
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was the CEO of Match Group Americas from December 2015 to August 2017; CEO of The

Princeton Review from July 2014 to December 2015; CEO of Tutor.com from April 2013 to 2015;

SVP and General Manager (“GM”) of Match.com from September 2008 to October 2012; and

Vice President (“VP”) and GM of Chemistry.com from March 2006 to September 2008. As the

Company acknowledged in the 2018 Proxy, Ginsberg is not independent by reason of her executive

position at Match Group. During the relevant period, Match Group paid Ginsberg the following

compensation:

    Fiscal      Salary     Bonus        Stock       Option         All          Total
    Year                               Awards       Awards        Other
                                                                 Compen
                                                                  sation

    2018       $750,000   $1,750,000    —          —              $8,250      $2,508,250
    2017       $517,808    $750,000 $4,109,000 $6,280,570        $23,650     $11,681,028

         17. Defendant Ann L. McDaniel (“McDaniel”) has served as a Match Group director

since December 2015. She is the Chairperson of the Company’s Compensation and Human

Resources Committee. During the relevant period, Match Group paid McDaniel the following

compensation:


     Fiscal Year     Fees Earned and Paid          Stock Awards               Total
                            in Cash
        2018                $75,000                   $249,999               $324,999
        2017                $75,000                   $249,984               $324,984
        2016                $75,000                   $249,997               $324,997

         18.    Defendant Thomas J. McInerney (“McInerney”) has served as a Match Group

director since the Company’s IPO in November 2015. He serves on the Board’s Audit Committee.

Previously, McInerney served as the President of Retailing at IAC from January 2003 through

December 2005; and VP and CFO of IAC from January 2005 to March 2012. McInerney was

EVP and CFO of Ticketmaster Online-City Search Inc. (“Ticketmaster”) from May 1999 to


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January 2003.2        During the relevant period, Match Group paid McInerney the following

compensation:

        Fiscal Year     Fees Earned and Paid         Stock Awards                Total
                               in Cash
           2018                $60,000                 $249,999              $309,999
           2017                $60,000                 $249,984              $309,984
           2016                $60,000                 $249,997              $309,997

           19.    Defendant Glenn H. Schiffman (“Schiffman”) has served as a director of Match

Group since September 2016. Schiffman is the EVP and CFO of IAC since April 2016; a director

of ANGI since September 2017; and was the CFO of ANGI from September 2017 to March 2019.

As the Company acknowledged in the 2018 Proxy, Schiffman is not independent by reason of his

executive position at IAC.       During the relevant period, IAC paid Schiffman the following

compensation:

     Fiscal        Salary      Bonus        Stock      Option         All Other          Total
     Year                                  Awards      Awards       Compensation

    2018          $600,000   $3,500,000      —        $4,315,200      $149,612      $8,564,812

    2017          $600,000   $2,500,000      —        $3,831,000      $46,059       $6,977,059

    2016          $420,000   $1,750,000      —        $2,942,000      $225,586      $5,337,586


           20.    Defendant Pamela S. Seymon (“Seymon”) has served as a director of Match Group

since the Company’s IPO.         Seymon is a member of the Board’s Audit Committee and

Compensation and Human Resources Committee. During the relevant period, Match Group paid

Seymon the following compensation:




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    IAC was the parent company of Ticketmaster at that time.
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      Fiscal Year        Fees Earned and           Stock Awards                Total
                           Paid in Cash
         2018                $65,000                  $249,999               $314,999
         2017                $65,000                  $249,984               $314,984
         2016                $65,000                  $249,997               $314,997

         21.    Defendant Alan G. Spoon (“Spoon”) has served as a Match Group director since

the Company’s IPO in November 2015. He is the Chairperson of the Board’s Audit Committee.

Spoon also has served as an IAC director since February 2003, where he also serves as Chairperson

of the Audit Committee. Spoon was also a Ticketmaster director from September 1998 to January

2003. During the relevant period, Match Group paid Spoon the following compensation:

     Fiscal Year      Fees Earned and Paid          Stock Awards                Total
                             in Cash
        2018                 $80,000                   $249,999                $329,999
        2017                 $80,000                   $249,984                $329,984
        2016                 $80,000                   $249,997                $329,997

         22.    Defendant Mark Stein (“Stein”) has served as a Match Group director since the

Company’s IPO. Stein also serves as a director of ANGI since September 2017. He is also the

EVP and Chief Strategy Officer (“CSO”) of IAC since January 2016. Previously, Stein served as

CSO of Mindspark Interactive Network, an IAC company, from 2009 to 2012. Stein has also

served in various executive positions at IAC, including SVP of Corporate Development from May

2004 to July 2005. As the Company acknowledged in its 2018 Proxy, Stein is not independent by

reason of his executive position at IAC. During the relevant period, IAC paid Stein the following

compensation:




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   Fiscal        Salary      Bonus       Stock       Option        All Other       Total
   Year                                 Awards       Awards      Compensation

 2018           $550,000   $2,000,000      —           —            $8,250       $2,558,250

 2017           $550,000   $1,500,000      —        $3,831,000     $24,213       $5,905,213

 2016           $550,000   $1,000,000      —        $1,935,000      $7,950       $3,492,950


        23.     Defendant Gregg Winiarski (“Winiarski”) has served as a Match Group director

since October 2015 (before the Company’s IPO). Winiarski has also served as an ANGI director

since September 2017; and as IAC’s EVP, Secretary and General Counsel (“GC”) since February

2014. Previously, Winiarski was IAC’s Associate GC from February 2005 to February 2009. As

the Company acknowledged in its 2018 Proxy, Winiarski is not independent by reason of his

executive position at IAC.    During the relevant period, IAC paid Winiarski the following

compensation:

   Fiscal        Salary      Bonus       Stock       Option        All Other       Total
   Year                                 Awards       Awards      Compensation

 2018           $500,000   $2,000,000      —           —            $8,250       $2,508,250

 2017           $500,000   $1,750,000      —        $2,554,000      $8,100       $4,812,100

 2016           $500,000   $1,250,000      —        $1,290,000      $7,950       $3,047,950


        24.     Defendant Sharmistha Dubey (“Dubey”) has served as the President of Match

Group since January 2018 and a director since September 2019. Previously, Dubey was the Chief

Operating Officer of Tinder from February 2017 to January 2018; President of Match Group

Americas from December 2015 to January 2018; Chief Product Officer of The Princeton Review

and Tutor.com from July 2014 to December 2015; Executive Vice President of Tutor.com from

April 2013 to July 2014; Chief Product Officer of Match.com from January 2013 to April 2013;



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and Senior Vice President of Match.com and Chemistry.com from September 2008 to December

2012. During the relevant period, Match Group paid Dubey the following compensation:

 Fiscal     Salary        Bonus        Stock        Option       All Other        Total
 Year                                 Awards        Awards     Compensation

 2018      $550,000     $1,500,000 $11,999,986        —            $8,250       $14,058,236


          25. According to the 2019 Proxy, Match Group is a “controlled company” since non-

party IAC beneficially owns equity securities of Match Group representing approximately 97.5%

of the total voting power of Match Group capital stock.        IAC is the Company’s majority

shareholder, owning more than 80% of the outstanding shares.

          26.    Non-party Barry Diller (“Diller”) has been a director and Chairman and Senior

Executive of IAC since December 2010. Diller has previously served as a director and Chairman

and CEO of IAC (and its predecessors) from August 1995 to November 2010. In IAC’s Proxy

Statement filed with the SEC on April 30, 2019, IAC’s Board of Directors expressly recognized

Diller’s substantial influence over IAC resulting from his share ownership: “the Board noted Mr.

Diller’s ability to exercise influence (subject to the Company’s organizational documents and

Delaware law) over the outcome of matters involving the Company that require stockholder

approval given the fact that he and certain members of his family collectively have sole voting

and/or investment power over all shares of IAC Class B common stock outstanding, which shares

represent a significant percentage of the voting power of IAC capital stock.”

          27.    The Defendants named in ¶¶ 14-24 are referred to herein as the “Individual

Defendants.”



                IV.   THE INDIVIDUAL DEFENDANTS’ FIDUCIARY DUTIES



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         28.   By reason of their positions as officers and/or directors of Match Group and because

of their responsibility to control the business and corporate affairs of the Company, the Individual

Defendants owed and owe the Company and its shareholders the fiduciary obligations of good

faith, loyalty, and due care, and were and are required to control and manage the Company in a

just, honest, fair, and equitable manner. Each of the Individual Defendants owed and owes Match

Group and its shareholders the fiduciary duty to exercise good faith and diligence in the

administration of the affairs of the Company.

         29.   To discharge their duties, the Individual Defendants were and are required to

exercise reasonable and prudent oversight and supervision over the management, policies,

practices, and internal controls of Match Group.         By virtue of such duties, the Individual

Defendants were and are required to follow the Company’s Code of Business Conduct and Ethics.

In addition, the Individual Defendants serving on the Board’s two standing committees, the Audit

Committee and the Compensation and Human Resources Committee, are further obligated to

uphold the special duties set forth in the charters for each respective committee.

A.   Match Group’s Code of Business Conduct and Ethics

         30.   Match Group’s Code of Business Conduct and Ethics was adopted by the Board to

serve as a framework under which the Board is required to fulfill its duties with expertise, integrity,

and an understanding of the Company’s business environment. Violations of Match Group’s Code

of Business Conduct and Ethics are punishable by penalties and/or termination of employment.

         31.   As required by the Dodd-Frank Wall Street Reform and Consumer Protection Act,

the Individual Defendants were and are required to refrain from engaging in misconduct, and to

claw back compensation from officers engaged in knowing misconduct, including violations of

applicable law and NASDAQ rules. The Individual Defendants were and are obligated to file full,

accurate, and timely reports and public communications with the SEC.
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         32.       Among the duties imposed by the Code of Business Conduct and Ethics are:

                   Maintaining complete and accurate Company records;

                   The prohibition against trading stock by persons who are aware of material
                    nonpublic information;

                   Seeking approval from Match Group’s General Counsel before any director or
                    officer can engage in transactions involving Company securities;

                   Being a good “corporate citizen” by complying with applicable governmental
                    laws, rules and regulations;

                   Maintaining full, fair, accurate, timely and understandable reports and documents
                    filed with the SEC and in all public communications;

                   Refraining from sharing material nonpublic information about Match Group or
                    any public company with others; and

                   Maintaining confidentiality of information entrusted “by the Company and/or
                    IAC.”

B.   Additional Duties of the Audit Committee Members

         33.       In addition to the duties described above, the members of the Board’s Audit

Committee (Chairperson Spoon, McInerney, and Seymon) are responsible for “the compliance by

the Company with legal and regulatory requirements.”

         34.       The Audit Committee Charter obligates members to review and discuss with

management and the Company’s independent auditor the integrity and accuracy of the Company’s

financial statements and public disclosures.

         35.       The Audit Committee Charter provides that the Audit Committee shall meet at least

four times each year and make regular reports to the Board to ensure Match Group’s public filings

with the SEC are in compliance with the law. The Charter further provides that the members of

the Audit Committee shall, among other things:

                   Review all related party transactions in accordance with the Audit Committee’s
                    formal, written policy;


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                    Establish procedures for the receipt, retention and treatment of complaints
                     received by the Company regarding accounting, internal accounting controls or
                     auditing matters, and the confidential, anonymous submission by employees of
                     concerns regarding questionable accounting or auditing matters; and

                    Discuss with the Company’s General Counsel legal matters that may have a
                     material impact on the financial statements or the Company’s compliance
                     policies.

          36.       The Audit Committee Charter further provides that each member shall meet the

independence and experience requirements of the marketplace rules of the NASDAQ and Rule

10A-3(b)(1) under the Securities and Exchange Act of 1934 (“the Exchange Act”).

C.   Additional Duties of the Compensation and
     Human Resources Committee Members

          37.       The Compensation and Human Resources Committee Charter requires its members

to be independent under NASDAQ rules, “outside” directors as defined by the Internal Revenue

Code 162(m), and “non-employee” directors under Rule 16b-3 of the Exchange Act. Match

Group’s Compensation and Human Resources Committee is comprised of Defendant McDaniel

(Chairperson) and Defendant Seymon, who are responsible for approving and evaluating the

Company’s executive compensation plans, policies, and programs. The Committee is also tasked

with, inter alia:

                    Reviewing and discussing the Compensation Discussion and Analysis required
                     to be included in the Company’s Proxy Statement and Annual Report on Form
                     10-K;

                    Producing the annual Compensation Committee report to be included in the
                     proxy; and

                    Oversight of the Company’s compliance with SEC rules and regulations
                     regarding shareholder advisory votes on executive compensation, the frequency
                     of such votes, and NASDAQ rules that, with limited exceptions, shareholders
                     approve equity compensation plans.

                               V.    SUBSTANTIVE ALLEGATIONS



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A.   Background

       1. IAC’s control over Match Group

         38.   Match Group operated as a wholly-owned subsidiary of IAC since its incorporation

in 2009. As a result, IAC has provided Match Group with various services, including accounting,

treasury, legal, tax, risk management, corporate support and internal audit functions. Match Group

has also borrowed money from (and issued related notes to) certain IAC subsidiaries, whose

borrowings are classified as long-term debt.

         39.   On November 19, 2015, Match Group became a public corporation after launching

its IPO. Despite the public offering of shares, Match Group continues to be controlled by IAC, as

admitted in the 2018 10-K:

       Match Group has outstanding shares of common stock, with one vote per share, and
       shares of Class B common stock, with ten votes per share and which are convertible
       into common stock on a share for share basis. As of February 1, 2019, IAC owned
       209,919,402 shares of Class B common stock representing 100% of our
       outstanding Class B common stock and 15,813,277 shares of common stock.
       These holdings collectively represent approximately 81.1% of our outstanding
       shares of capital stock and approximately 97.6% of the combined voting power
       of our outstanding capital stock.

       2. The material risks facing Match Group’s business

         40.   Match Group’s Board is required to exercise oversight over the Company’s risk

management programs and policies. As stated in the Company’s 2018 Proxy:

       [T]he imprudent acceptance of risks or the failure to appropriately identify and
       mitigate risks could adversely impact stockholder value. The Board is responsible
       for overseeing Company management in the execution of its responsibilities and
       for assessing the Company’s approach to risk management. The Board exercises
       these responsibilities periodically as part of its meetings and through discussions
       with Company management, as well as through the Board’s Audit and
       Compensation and Human Resources Committees, which examine various
       components of financial and compensation-related risks, respectively, as part of
       their responsibilities. Information security is a key component of risk management
       at Match Group and our Chief Technology Officer briefs the Audit Committee each
       quarter, and the full Board as appropriate, on the Company’s information security
       program and its related priorities and controls. In addition, an overall review of

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       risks is inherent in the Board’s consideration of the Company’s long-term
       strategies and in the transactions and other matters presented to the Board,
       including significant capital expenditures, acquisitions and divestitures and
       financial matters.

         41.   Among the material risks to the Company over which the Board was required to

exercise oversight was the risk that user conduct could damage the Company, its reputation, and

business prospects. According to the 2018 10-K:

       The reputations of our brands may be adversely affected by the actions of our
       users that are deemed to be hostile, offensive, defamatory, inappropriate or
       unlawful. While we have systems and processes in place that aim to monitor and
       review the appropriateness of the content accessible through our dating products,
       which include, in particular, reporting tools through which users can inform us of
       such behavior on the platform, and have adopted policies regarding illegal,
       offensive or inappropriate use of our dating products, our users could nonetheless
       engage in activities that violate our policies. These safeguards may not be sufficient
       to avoid harm to our reputation and brands, especially if such hostile, offensive or
       inappropriate use is well-publicized.

       In addition, it is possible that a user of our products could be physically,
       financially, emotionally or otherwise harmed by an individual that such user met
       through the use of one of our products. If one or more of our users suffers or
       alleges to have suffered any such harm, we could experience negative publicity
       or legal action that could damage our reputation and our brands. Similar events
       affecting users of our competitors’ dating products could result in negative publicity
       for the dating industry generally, which could in turn negatively affect our business.

         42.   The Company’s Board was also expressly aware of the risk that illegal conduct on

its platform could result in lawsuits, regulatory action or future legislation that could damage the

Company’s financial condition and business prospects. Indeed, the 2018 10-K warns that inquiries

or investigations may lead to costly compliance measures, an impediment in developing new

products, negative publicity, increased operating costs, require significant management time and

attention, and subject the Company to remedies that may harm its business, “including fines or

demands or orders that [Match Group] modify or cease existing business practices.”

         43.   The 2018 10-K further states the risks that Match Group faces from legal

proceedings:

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       We are, and from time to time may become, subject to litigation and various legal
       proceedings, including litigation and proceedings related to intellectual property
       matters, privacy and consumer protection laws, as well as stockholder derivative
       suits, class action lawsuits and other matters, that involve claims for substantial
       amounts of money or for other relief or that might necessitate changes to our
       business or operations…. The defense of these actions is time consuming and
       expensive…. Our failure to successfully defend or settle any of these litigations
       or legal proceedings could result in liability that, to the extent not covered by our
       insurance, could have an adverse effect on our business, financial condition and
       results of operations.

B.   Match Group is Sued by the FTC for Deceiving Consumers and Violating ROSCA

     1. The FTC commences an investigation of Match Group in March 2017

         44.   The 2018 10-K disclosed that, in March 2017, almost two years prior to its filing,

the FTC asked Match Group for information and documents as part of its civil investigation into

Match.com’s business practices. Specifically, the FTC commenced an investigation regarding

Match.com’s marketing, charge reversal and user account cancellation practices.

     2. After the FTC investigation commences, but before disclosure,
        insiders sell over $82 million of their Match Group shares

         45.   After commencement of the FTC’s investigation, Match Group insiders began

selling shares without making public disclosure of the investigation. Indeed, in August 2018,

Defendant Ginsberg sold 63% of her Match Group shares, netting over $5.8 million. All told,

Defendants Ginsberg, McDaniel, and Dubey, as well as Gregory Blatt (“Blatt”), a member of the

Board until his August 2018 resignation, Jared Sine (“Sine”), the Company’s Chief Legal Officer

and Secretary, Sam Yagan (“Yagan”), a member of the Board until his September 2019

resignation, Philip D. Eigenmann (“Eigenmann”), the Company’s Chief Accounting Officer, and

Amarnath Thombre (“Thombre”), the CEO of Match Group Americas, sold at least 3,418,334

Match Group shares for proceeds of more than $82.75 million while in possession of material

adverse non-public information concerning the FTC’s investigation of the Company, as well as

the misconduct alleged herein:

                                                17
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Name                       Date       Number of   Price Per      Proceeds
                                      Shares      Share
Amanda Ginsberg             8/14/2018     106,850 $48.20-$50.08     $5,275,129.86
                            8/21/2018      11,196         $48.78      $546,165.51
                Subtotal                  118,046 $48.20-$50.08     $5,821,295.37

Ann L. McDaniel            11/27/2017      11,119          $30.62     $340,432.65
                            2/27/2018       5,676          $40.09     $227,527.00
                            5/25/2018       4,351          $41.85     $182,090.66
                Subtotal                   21,146   $30.62-$41.85     $750,050.30

Gary Swidler                2/15/2018      52,841          $41.53    $2,194,692.81
                            2/16/2018      37,248          $41.56    $1,547,851.81
                            8/23/2018     105,611          $49.57    $5,235,538.59
                            2/11/2019     158,795          $57.88    $9,191,038.72
                Subtotal                  354,495   $41.53-$57.88   $18,169,121.94

Sharmistha Dubey            2/12/2018     141,149          $37.99    $5,361,714.14
                            2/13/2019      39,773          $57.60    $2,291,095.82
                Subtotal                  180,922   $37.99-$57.60    $7,652,809.97

Gregory Blatt                3/2/2018     220,177          $39.30    $8,652,163.46
                             3/2/2018     236,496          $40.09    $9,482,023.32
                Subtotal                  456,673   $39.30-$40.09   $18,134,186.79

Amarnath Thombre             5/5/2017     200,000          $19.37    $3,874,000.00
                             5/8/2017      75,000          $19.05    $1,428,750.00
                             5/9/2017      25,000          $19.05      $476,250.00
                            5/16/2017      50,000          $19.79      $989,500.00
                            5/22/2017      50,000          $19.56      $978,000.00
                            5/23/2017      66,126          $19.69    $1,302,020.94
                Subtotal                  466,126   $19.05-$19.79    $9,048,520.94

Jared F. Sine               8/30/2017      64,436          $20.46    $1,318,257.46
                            2/12/2018       9,953          $38.19     $380,072.23
                            8/20/2018      27,343          $48.51    $1,326,356.98
                            2/11/2019      13,764          $57.76     $794,993.50
                Subtotal                  115,496   $20.46-$57.76    $3,819,680.17

Sam Yagan                   8/16/2017      54,625         $19.31     $1,054,803.29
                            8/25/2017      14,463         $19.01      $274,908.37
                            8/28/2017      84,391         $19.11     $1,613,108.65

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                            8/31/2017         464,963           $21.76        $10,119,547.72
                             9/1/2017         219,620           $22.34         $4,906,925.74
                Subtotal                      838,062    $19.01-$22.34        $17,969,293.76

 Philip D. Eigenmann        2/16/2018          10,816           $41.72          $451,242.44
                             3/1/2018           7,081           $39.94           $282,791.06
                            2/13/2019          11,409           $57.77          $659,076.25
                Subtotal                       29,306    $39.94-$57.77         $1,393,109.76

 Total                                      2,580,272    $19.05-$57.88        $82,758,068.98


     3. Match Group discloses the March 2017 FTC investigation in February 2019


          46. On February 28, 2019, in the 2018 10-K, the Individual Defendants disclosed for

the first time that Match Group was under investigation by the FTC. The newly disclosed

investigation had been going on since at least March 2017, nearly two years prior to its disclosure.

In fact, in November 2018, the FTC offered to settle its claims with Match Group for $60 million

and a consent judgment mandating certain changes in the Company’s business practices; however,

the two sides could not reach an agreement. As stated in the 2018 10-K:

         In March 2017, the Federal Trade Commission (“FTC”) requested information and
         documents in connection with a civil investigation regarding certain business
         practices of Match.com. In November 2018, the FTC proposed to resolve its
         potential claims relating to Match.com’s marketing, chargeback and online
         cancellation practices via a consent judgment mandating certain changes in the
         company’s business practices, as well as a payment in the amount of $60 million.
         Match Group believes that the FTC’s legal challenges to Match.com’s practices,
         policies, and procedures are without merit and is prepared to vigorously defend
         against them.

          47.   On August 7, 2019, the FTC voted to bring claims against Match Group.

          48.   On September 18, 2019, Yagan resigned as a member of the Match Group Board.

No reason was given for Yagan’s departure. Defendant Dubey was elected by the Board to fill the

vacancy created by Yagan’s departure.

     4. Insiders continue to sell Match Group shares

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         prior to the filing of the FTC Complaint

         49.      From the time that the FTC’s ongoing investigation was belatedly announced to the

public through the time of the filing of the FTC’s complaint, Match Group insiders continued to

sell Company shares. All told, during that time period, Defendants Ginsberg, and McDaniel, as

well as Chief Legal Officer Sine, and Chief Accounting Officer Eigenmann, sold at least 162,305

Match Group shares for proceeds of $11,640,676.82 while in possession of material adverse non-

public information concerning the FTC’s investigation of the Company, as well as the misconduct

alleged herein:

 Name                        Date       Number of Price Per      Proceeds
                                        Shares      Share
 Amanda Ginsberg              5/30/2019     119,879       $69.05    $8,277,920.67

                  Subtotal                     119,879            $69.05       $8,277,920.67

 Ann L. McDaniel                6/5/2019          6,400           $70.26         $449,648.00

                  Subtotal                        6,400           $70.26         $449,648.00

 Philip D. Eigenmann           6/6/2019           4,328           $70.87         $306,705.45
                              8/16/2019           7,057           $84.49         $596,245.93

                  Subtotal                      11,385    $70.87-$84.49          $902,951.38

 Jared F. Sine                8/14/2019          6,153            $79.47         $488,971.53
                              8/15/2019         18,488            $82.28       $1,521,185.24

                  Subtotal                      24,641    $79.47-$82.28        $2,010,156.77

 Total                                         162,305    $69.05-$84.49      $11,640,676.82


     5. The FTC files a complaint against Match Group in September 2019

         50.      On September 25, 2019, the FTC filed a complaint, captioned FTC v. Match Group,

Inc., No. 3:19-cv-02281-K (N.D. Tex.), for a permanent injunction, civil penalties, and other relief

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against Match Group in the United States District Court for the Northern District of Texas (the

“FTC Complaint”). On September 26, 2019, the DOJ served Match Group with a grand jury

subpoena for documents relating to the marketing-related claims made by the FTC in its complaint.

         51.   In its complaint, the FTC alleges a long history of misconduct by the Company

involving, among other things: communications delivered to nonsubscribers, but withheld from

subscribers, from accounts that Match Group had deemed fraudulent; Match Group’s creation of

a cancellation process for subscribers that was all but impossible to complete; Match Group’s use

of a “negative option” whereby subscriptions were renewed without any affirmative act from the

subscriber without clear disclosure; and Match Group’s termination of active accounts held by

those who unsuccessfully challenged their charges with credit card companies. The FTC alleges

that Match Group continued this misconduct even after learning of the FTC’s investigation. The

FTC charges the Company with violating Section 5(a), 5(m)(1)(A), 13(b), and 19 of the FTC Act,

15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), and 57b, and Section 5 of ROSCA, 15 U.S.C. § 8404.

       (a) Use of communications from illegitimate users to
           generate deceptive advertisements and sell subscriptions

         52.   While nonsubscribers can receive messages on Match.com, they cannot send or

respond to messages, only subscribers may do so.          The FTC alleges that unsuspecting

nonsubscribers were induced to pay for a subscription so they could see and reply to

communications that were forwarded to them by Match Group. However, the FTC alleges that

many of these messages forwarded by Match Group to nonsubscribers were from accounts that the

Company had identified as likely to be fraudulent and that Match Group provided no disclosure of

that determination to the consumer.

         53.   The FTC Complaint asserts that consumers are often unaware that communications

received through Match.com are not from users interested in establishing dating relationships but


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are instead from persons seeking to perpetrate scams. For example, in some months between 2013

and 2016, more than half of instant message initiations and favorites that consumers received

originated from accounts that Match Group identified as “fraudulent,” meaning that the Company

determined the Match.com user was likely to be perpetrating some form of scam.

         54.   Match Group used these fraudulent communications to induce consumers to

subscribe to Match.com. When consumers received these communications, they also received

accompanying advertisements from the Company encouraging them to subscribe to Match.com in

order to view the content of the communication and the identity of the sender.             These

advertisements did not disclose whether Match Group had identified the Match.com user as likely

to attempt to defraud the consumer receiving the message or as requiring further review by the

Company’s fraud review process due to the likelihood that the user is engaging in fraud.

Consumers also receive discount offers for subscription packages at reduced prices that similarly

represent expressly that specific Match.com users are interested in them.

         55.   The FTC alleges that consumers have often purchased Match.com subscriptions

from the Company so that they can communicate with the users Match Group has advertised as

being interested in them.

         56.   Between at least 2013 and mid-2017, Match Group tracked the number of fraud-

generated personalized advertisements it sent to nonsubscribers and those advertisements’ effect

on Match.com subscriber numbers. In fact, Match Group has consistently tracked how many

subscribers these communications have generated, typically by measuring the number of

consumers who subscribe to Match.com within 24 hours of receiving an advertisement that touts

a fraudulent communication. From June 2016 to May 2018, for example, Match Group’s analysis

found that 499,691 subscription packages were purchased by nonsubscribers within 24 hours after

receiving fraud-generated communications between June 2016 and May 2018.
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       (b) Match Group exposes users to the risk of fraud by marketing
           communications from users that it knew likely to be engaging in fraud

         57.   The FTC Complaint asserts that Match Group is aware that these communications

reach consumers and automatically generate personalized advertisements encouraging them to

subscribe to Match.com.

         58.   Between 2013 and mid-2018, the FTC asserts, Match Group delivered email from

fraud-flagged users to nonsubscribers while withholding them from subscribers until it had

completed its fraud review. Without this practice, the vast majority of fraud-flagged Match.com

users would never have been able to contact their intended recipients.

         59.   The FTC asserts that based upon data it obtained from Match Group, from at least

June 2016 to at least the beginning of May 2018, approximately 2.25 million users received

approximately 4 million fraudulent messages that would not have been delivered had the recipients

been paid subscribers. Regarding those communications that were withheld by Match Group

based upon its determination of their fraudulent nature, approximately 87.8 percent were later

confirmed by the Company to be fraudulent. More than 250,000 of those consumers subscribed

to Match.com within 24 hours of receiving the email communications.

       (c) Match Group’s use of deceptive guarantees

         60.   The Company offered a “Guarantee” that promised a free six-month subscription

to consumers who did not find a match within six months of buying a Match.com subscription.

The FTC alleges that Match Group did not adequately disclose the terms of that offer. According

to the FTC, due to Match Group’s failure to clearly disclose the guarantee requirements and have

a clearly outlined procedure for claiming six free months of Match.com, most users could not claim

their guarantee.   Thus, from 2013 through at least 2016, users bought almost 2.5 million

subscriptions with the guarantee, but only 32,438 received the promised six free months. In


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contrast, Match Group billed nearly 1 million consumers who purchased a guarantee for an

additional six-month package when the first six-month period expired.

        (d) Match Group’s billing and cancellation practices for Match.com

          61.   The FTC also alleged that Match maintained an online cancellation mechanism for

its subscription service that was burdensome and confusing to complete. From at least 2013

through at least 2016, Match Group billed nearly 1 million users for six additional months after

their initial subscription period ended. As a result, users were faced with bills for an extended six-

months of Match.com subscriptions after their initial subscriptions expired due to Match Group’s

negative option marketing, which the FTC found to be in violation of ROSCA.3 According to the

FTC, thousands of users complained that Match Group billed them after they thought they had

cancelled their subscriptions.

          62.   Match Group acknowledged its frustrating cancellation procedures in a 2015

internal presentation obtained by the FTC and pled in the FTC Complaint. According to the

internal presentation, a user seeking to terminate a paid membership needed to go through at least

six steps and even then may not have terminated the membership.             Notes from the internal

presentation cited in the FTC Complaint describe the cancellation process as:

        hard to find, tedious, and confusing. Members often think they’ve cancelled when
        they have not and end up with unwanted renewals. The current process takes over
        6 clicks.

          63.   The FTC Complaint further alleges that Match Group executives have

acknowledged that Match.com’s cancellation process is “convoluted and confusing.”                The




3
  “An offer or agreement to sell or provide any goods or services, a provision under which the
consumer’s silence or failure to take an affirmative action to reject goods or services or to cancel
the agreement is interpreted by the seller as acceptance of the offer.” FTC Telemarketing Sales
Rule (“TSR”), 16 C.F.R. § 310.2(w).
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Company’s head of customer service stated in 2016, for example, that “it’s been the same

complaint for the past decade that I’ve been with Match…. It takes up to 7 or 8 clicks to complete

the flow to turn off [subscriptions] if you can even figure out how to do it.”

         64.   As such, the FTC alleges that “[t]housands of consumers have complained about

Match.com’s cancellation procedures. They have also claimed that [Match Group] has billed them

after they believed they effectively canceled their Match.com subscriptions.”

       (e) Match Group terminated accounts in response to billing disputes

         65.   Due to Match Group’s deceptive advertising, billing, and cancellation practices,

users sometimes disputed their Match.com charges. If Match Group prevailed in the dispute, it

would then cancel the user’s account even if there was time remaining on the paid subscription.

The FTC charges Match Group with engaging in unfair practices against consumers regarding this

termination practice, employed until at least mid-2019.

         66.   As a result of the foregoing, the FTC is seeking penalties from Match Group,

including rescission or reformation of contracts, restitution to consumers, the refund of monies

paid, and the disgorgement of ill-gotten monies, as well as injunctive relief.

         67.   On October 3, 2019, a securities class action lawsuit was filed in the United States

District Court for the Northern District of Texas seeking damages from the Company, and

Defendant Ginsberg and Gary Swidler, the Company’s Chief Financial Officer. The complaint,

captioned Crutchfield v. Match Group, Inc., et al. (Case No.: 3:19-CV-2356-E), alleges violations

of Section 10(b) and Rule 10b-5 promulgated thereunder, and Section 20(a) of the Exchange Act.

  C.   The Board Was Faced with Red Flags of Improper Conduct

         68.   The Individual Defendants were on notice of numerous red flags of improper

conduct that required that they investigate and take action to remediate them. Rather than take



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such required actions, the Individual Defendants allowed the problems to persist and fester,

resulting in material damage to Match Group and its shareholders.

           69.       On June 3, 2011, before Match Group went public, a class of consumers sued

Match.com for violating § 17.59(a)(3) of the Texas Deceptive Trade Practices Act, breach of

contract, and breach of the implied covenant of good faith and fair dealing. The lead plaintiffs in

the class action, captioned David Robison, et al. v. Match.com, LLC., No. 3:10-cv-02651-L (N.D.

Tex.), sought to recover damages for subscription fees they paid for Match.com. Specifically, the

consumers alleged that Match.com breached its subscriber agreement by, among other things:

                      failing to vet new profiles;

                      failing to accurately disclose its active and reachable subscriber base;

                      failing to police its site from the proliferation of false and fraudulent profiles;

                      failing to take reasonable steps to remove and block scammers, even after certain
                       profiles had been reported; and

                      failing to review and/or audit a percentage of new profiles rather than
                       automatically accepting them without further review.

           70.       From January 4, 2013 until Match Group’s IPO on November 19, 2015, at least 584

complaints were filed with the Better Business Bureau, the FBI’s IC3, and state attorneys general

offices.   These complaints, stemming from consumers located in 46 states, the District of

Columbia, Puerto Rico, and Canada, alleged damages ranging up to $400,000 resulting from

fraudulent users whose communications were forwarded to them by Match.com, the inability to

cancel memberships on Match.com, the improper negative option employed by Match.com, and

the improper termination of services for users who unsuccessfully disputed their charges with

credit card companies.

           71.       Numerous media reports alerted the Defendants to the high frequency of fraud on

online dating sites. For example, in a Wall Street Journal article entitled “Dating-Website Users
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Fall Prey to Fraudster Profiles,” the FBI’s IC3 reported that in the first six months of 2016,

romance scams cost victims nearly $120 million, up 23% year-over-year.4 One former Match.com

worker, Mark Swindell, stated that Match.com outsourced the new-user approval process to the

Dominican Republic where workers had quotas for screening pictures and usually took less than a

minute to review each one.

          72.   From the time of Match Group’s November 19, 2015 IPO until the commencement

of the FTC’s investigation in March 2017, at least 912 complaints were filed with the Better

Business Bureau, the FBI’s IC3, and state attorneys general offices. These complaints, stemming

from consumers located in 40 states, the District of Columbia, Canada, the United Kingdom, and

Australia, alleged damages ranging up to $326,000 resulting from fraudulent users whose

communications were forwarded to them by Match.com, the inability to cancel memberships on

Match.com, the improper negative option employed by Match.com, and the improper termination

of services for users who unsuccessfully disputed their charges with credit card companies.

          73.   From the time of the commencement of the FTC investigation of Match Group in

March 2017 through December 2017, the last date upon such data is publicly available, at least

742 complaints were filed with the Better Business Bureau, the FBI’s IC3, and state attorneys

general offices. These complaints, stemming from consumers located in 46 states, the District of

Columbia, and Canada, alleged damages ranging up to $450,000 resulting from fraudulent users

whose communications were forwarded to them by Match.com, the inability to cancel




4
 Jennifer Levitz, Dating-Website Users Fall Prey to Fraudster Profiles, Wall Street Journal,
September 1, 2016, https://www.wsj.com/articles/dating-website-users-fall-prey-to-fake-profiles-
1472680583.

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memberships on Match.com, the improper negative option employed by Match.com, and the

improper termination of services for users who unsuccessfully disputed their charges with credit

card companies.

          74.   On February 2, 2018, the Better Business Bureau released the findings of a study

entitled, “Online Romance Scams,” which detailed how scammers use impersonation, blackmail,

and trickery to steal from unsuspecting daters (the “BBB Study”). The purpose of the BBB Study

was to provide “dating services with knowledge needed to avoid this widespread and devastating

fraud.”

          75.   The BBB Study “revealed a massive number of fraudsters are using [dating] sites

to gain unsuspecting people’s trust to steal their money…. Victims in the US and Canada have

reported losing nearly $1 billion over the last three years – and BBB suspects this is only the tip

of the iceberg, as most people do not file complaints with BBB or law enforcement.” The BBB

Study also found that “more can, and should be done to stop the fraud, protect businesses’

reputations, and provide help for those whose lives have been destroyed.”

          76.   The BBB Study cites an expert who estimates that “at any one time there may be

25,000 fraudsters online with victims.” The BBB Study notes that “[o]ne company that screens

profiles for dating companies says that 500,000 of the 3.5 million profiles it scans every month are

bogus.” Based upon its work, the “BBB estimates that there may be more than a million victims

in the U.S. alone.”

          77.   The BBB Study notes that, while there are tens of thousands of complaints

regarding dating sites, “[c]omplaint numbers … do not provide a reliable guide to the true scope

of the online romance scam epidemic. Victims may not even know they are fraud victims for some

time, and when they do find out, they are so devastated that they never file a formal complaint, or

do not know where to go to file a complaint, so these stories do not become part of a national
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database. Furthermore, FTC studies show that less than 10% of all fraud victims report it to [the

Better Business Bureau] or law enforcement.”

          78.       The study listed some practices that online dating companies need to utilize in order

to limit fraud:

                     Noting the use of IP addresses from places that do not match a profile;

                     Warn customers about romance scams;

                     Screen, identify, and remove profiles used for scams;

                     When a fake profile is detected, the company should remove it and notify all
                      accounts that have been in contact; and

                     Take consumer complaints or direct romance fraud victims to law enforcement
                      and the Better Business Bureau.

          79.       On May 2, 2018, a consumer class action lawsuit was filed against Match Group,

captioned Matthew Ditnes v. Match Group, LLC, Case No. 1:18-cv-03128 (N.D. Ill.). According

to the complaint, the plaintiff was inundated with messages from fake profiles created or allowed

to be created by the Company: “[w]hile Match purports to have ‘millions’ of active subscribers,

upon information and belief, well over half of the profiles on its site are fake and fraudulent

profiles. These types of profiles are unreachable by legitimate users attempting to avail themselves

of the services offered by Match and paid for via subscription fees.”

          80.       According to the Ditnes complaint, the fake accounts on Match help drive up

subscription numbers, which helps the Company market subscriptions for Match. The complaint

alleges that “well over half of the profiles on [Match Group’s] sites are fake and fraudulent

profiles.” Further, Match Group makes “little to no effort to vet, police, or remove [what appear

to be thousands of fake and fraudulent profiles] and thereby permits, condones, and acquiesces in

their posting.”

                VI.     DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

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            81.   Plaintiff will adequately and fairly represent the interest of Match Group and its

stockholders in enforcing and prosecuting their rights.

            82.   Plaintiff seeks to redress injuries suffered and to be suffered by the Company as a

direct result of the violations of fiduciary duty by the Individual Defendants, as well as aiding and

abetting.

            83.   Plaintiff did not demand that Match Group’s Board take the action requested herein

because doing so would constitute a wasteful, futile and useless act. The Defendants, individually

and in concert, breached their fiduciary duties of good faith, loyalty, and due care, and were derelict

in the performance of their fiduciary duties to manage Match Group fairly, justly, honestly, and

equitably. Further, the Individual Defendants face a substantial likelihood of liability for the

misconduct alleged herein. Moreover, personal conflicts of interest faced by a majority of the

current directors raise reasonable doubt as to whether these individuals can act independently and

impartially.

            84.   The Individual Defendants knew of or disregarded the lack of internal controls over,

among other things, fraudulent accounts, cancellation policies, anti-fraud policies, and disclosure

requirements. Notwithstanding the obvious risks posed to Match Group and its shareholders from

a material weakness in such internal controls, the Individual Defendants failed to ensure that

corporate actions were being taken for the benefit of the Company and its shareholders rather than

to benefit themselves, that material information was disclosed in compliance with SEC rules and

regulations, failed to comply with the Company’s own Code of Business Conduct and Ethics,

failed to hold the Company’s directors, officers, and employees accountable for their violations of

the federal securities laws, insider trading and the Company’s own policies, failed to ensure that

an effective system of internal controls was implemented and maintained, and failed to perform

their proper level of oversight duties as directors of the Company.
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         85.   A majority of the Board faces a substantial likelihood of liability for breaches of

fiduciary duty for the alleged misconduct that cannot be exculpated due to their participation in or

approval of the wrongs alleged herein and/or failures to comply with the Company’s Code of

Business Conduct and Ethics. Further, they cannot be said to be independent from each other or

from those facing a substantial likelihood of liability. At all relevant times, the Board participated

in the misconduct alleged herein or did not perform the proper level of oversight over the Company

in accordance with their fiduciary duties.

         86.   The Match Group Board consists of ten (10) directors. A majority of these directors

are neither disinterested nor independent, and face a substantial likelihood of liability for their

breaches of fiduciary duties described herein. As such, they cannot make an impartial decision as

to whether to institute legal proceedings against those alleged to have committed wrongdoing.

Therefore, demand would be futile as to at least a majority of Match Group’s directors.

A.   Defendant Ginsberg Is Neither Disinterested Nor Independent

         87.   Defendant Ginsberg is the CEO of Match Group. As an officer of Match Group

she is neither disinterested nor independent. Indeed, the Company acknowledged in the 2018

Proxy that Ginsberg is not independent by reason of her executive position at Match Group.

Ginsberg has been employed in various executive roles by Match Group since 2006.

         88.   Further, Defendant Ginsberg improperly benefitted by the improper scheme

described herein. Ginsberg, while in possession of material, adverse information that the FTC was

investigating the Company’s practices, and without disclosure of the investigation to the

Company’s stockholders and the investing public, sold 237,925 Match Group shares for proceeds

of $14,099,216.

         89.   Ginsberg is also named as a defendant in the securities class action lawsuit.



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B.   Defendant Dubey Is Neither Disinterested Nor Independent

         90.   Defendant Dubey is the President of Match Group. As an officer of Match Group,

she is neither disinterested nor independent. Indeed, Dubey has been employed in various

executive roles by Match Group since 2006.

C.   Defendants Levin, Stein, Winiarski, and Schiffman
     Are Neither Disinterested Nor Independent

         91.   Defendants Levin, Stein, Winiarski, and Schiffman are all members of IAC’s

management: Levin is the CEO, Stein is an EVP and CSO, Winiarski is the EVP, Secretary and

General Counsel, and Schiffman is an EVP and CFO. As members of IAC’s management,

Defendants Levin, Stein, Winiarski, and Schiffman are neither disinterested nor independent.

Indeed, the Company acknowledged in the 2018 Proxy that Levin, Stein, Winiarski, and Schiffman

are not independent by reason of their executive positions at IAC.

         92.   Defendants Levin, Stein, Winiarski, and Schiffman are further entangled in that

they are also members of the Board of ANGI: Levin is the Chairman and CEO, while Stein,

Winiarski, and Schiffman are directors.

         93.   In Match Group’s S-1/A Registration Statement (the “Registration Statement”) for

its IPO, the risk related to IAC’s control of Match Group is expressly acknowledged. Through its

control, IAC has the ability to control “significant corporate activities,” including “the election of

our board of directors and, through our board of directors, decision-making with respect to our

business direction and policies….” The Registration Statement further acknowledges that, as a

result of IAC’s control, Match Group “may take actions that stockholders other than IAC do not

view as beneficial.”

         94.   The Registration Statement also recognizes that “IAC’s interest may conflict with

our interests and the interests of our stockholders.” It is admitted in the Registration Statement


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that “[v]arious conflicts of interest between us and IAC could arise. Five of our eight directors are

current members of the board of directors or executive officers of IAC. Ownership interests of

directors or officers of IAC in our stock and ownership interests of our directors and officers in

the stock of IAC, or a person’s service as either a director or officer of both companies, could

create or appear to create potential conflicts of interest when those directors and officers are faced

with decisions relating to our company.” Among those conflicts of interest listed is “the impact

that operating decisions for our business may have on IAC’s consolidated financial statements.”

The Registration Statement expressly acknowledges that “[p]otential conflicts of interest could

also arise if we decide to enter into any new commercial arrangements with IAC in the future…”

and that “disputes may arise between IAC and us relating to our past and ongoing relationship, …

including those related to: … sales or other disposal by IAC of all or a portion of its ownership

interest in us.”

          95.      On August 7, 2019, as part of its second quarter 2019 release of financial results,

IAC announced that it is considering the spin-off of its stake in Match Group. Thus, IAC has an

interest that conflicted with the long-term interests of Match Group and its stockholders. On

December 19, 2019, Match Group announced its entry into a definitive agreement providing for

the full separation of Match Group from the remaining businesses of IAC, which is expected to

close in the second quarter 2020. In the press release, Diller was quoted as stating “[w]e’ve always

separated out our businesses as they’ve grown in scale and maturity…”, thus, acknowledging that

IAC’s conflicting interest with the long-term interests of Match Group and its stockholders existed

during the entire relevant time period herein.

D.    Defendant Seymon Is Neither Disinterested Nor Independent

          96.      Defendant Seymon was a partner at the law firm Wachtell Lipton Rosen & Katz

(“WLR&K”), which has a lengthy relationship, and has derived substantial revenue from,

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representing IAC in corporate matters and related litigation. Indeed, a March 12, 2008 Reuters

article described Seymon as an “IAC lawyer.” A February 27, 2014 article on Littlesis, a

grassroots watchdog network “connecting the dots between the world’s most powerful people and

organizations,” reported that Seymon has “long been a key lawyer to Barry Diller, the Ticketmaster

chairman and CEO of IAC at the time” and that “[n]obody could be happier to serve Diller’s deal

addiction than Wachtell, Lipton, Rosen & Katz, particularly Martin Lipton and Pamela Seymon,

who have handled many of the deals. The firm has been representing the media mogul and his

many companies for more than 15 years, and more work appears to be on the way.”

         97.   It was reported on December 2, 2010 in the AM Law Daily that Pamela Seymon led

a team from Wachtell in advising IAC on a transaction with Liberty Media. The article noted that

“Seymon and Wachtell have advised IAC before, serving as deal counsel to the conglomerate’s

Ticketmaster unit on its controversial takeover by Live Nation last year.”

         98.   WLR&K served as counsel to Match Group in its November 2015 IPO. WLR&K

has also served as counsel to the Company in its August 15, 2016 exchange offer for senior notes,

as well as the registration of new senior notes. As indicated by a May 26, 2017 letter to Match

Group attached to the Registration Statement on Form S-8 filed by Match Group with the SEC on

May 26, 2017, WLR&K “have acted as counsel to Match Group, Inc. … in connection with the

preparation and filing of the Registration Statement on Form S-8 … to be issued pursuant to the

Company’s 2017 Stock and Annual Incentive Plan.” WLR&K served as counsel for IAC’s

January 2018 offering of IAC common stock to certain holders of senior notes and the Registration

Statement on Form S-3 filed with the SEC on January 22, 2018 lists the same attorney from

WLR&K as listed on Match Group’s IPO Registration Statement, and other Registration

Statements described above.



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         99.    WLR&K represented Defendant Spoon in In re IAC/InteractiveCorp Securities

Litigation, 1:04-cv-07447-RJH (S.D.N.Y.).

E.   Defendant Spoon Is Neither Disinterested Nor Independent

         100. Defendant Spoon is neither disinterested nor independent. Spoon is a director of

IAC, where four Match Group directors (Levin, Stein, Winiarski, and Schiffman) serve as

members of management.

         101. Spoon’s involvement with IAC spans back for many years. In fact, Spoon was a

Ticketmaster director from September 1998 through January 2003.             While Spoon was a

Ticketmaster director, Defendant McInerney served as an EVP and CFO from May 1999 to

January 2003.

         102. Defendant Spoon was also the President, Chief Operating Officer, and a director of

The Washington Post Company. Defendant McDaniel was the managing editor of Newsweek and

head of its Washington bureau at the time that Spoon was a director and officer of Newsweek’s

parent corporation, The Washington Post Company.

         103. Defendant Spoon and Diller, the controlling shareholder of IAC, are enumerated as

one of the “five most-entangled controller-independent director pairings” in the University of

Richmond School of Law’s publication “Beyond Beholden,” published in 2019 by Da Lin, a

Climenko Fellow and Lecturer on Law at Harvard Law School. According to the publication,

Spoon has served as a director of four (4) entities controlled by Diller: Ticketmaster, where Spoon

was a director and a special committee member from 1997 to 2002; The HealthCentral Network,

where Spoon was a director from 2005 to 2011; IAC, where Spoon was a director from 2003 to

the present; and Match Group. The article concludes, based upon an extensive study, that “some

controlling shareholders regularly re-appoint cooperative ‘independent’ directors to senior

positions and directorships at other firms under their control. From a director’s perspective, this

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pattern of behavior means that the potential upside of getting along with the controlling

shareholder is significant.”

         104. Defendant Spoon was represented by WLR&K in In re IAC/InteractiveCorp

Securities Litigation, 1:04-cv-07447-RJH (S.D.N.Y.).

F.   Defendant McInerney Is Neither Disinterested Nor Independent

         105. Defendant McInerney was the Executive Vice President and Chief Financial

Officer of IAC from January 2005 to March 2012. As such, he has a long-standing connection

with Barry Diller, IAC’s controlling shareholder, Chairman and former CEO, as well as

Defendants Levin, Stein, Winiarski, Schiffman, and Spoon.

         106. Defendants McInerney and Spoon served together at Ticketmaster: McInerney was

its EVP and CFO from May 1999 to January 2003. Spoon was a Ticketmaster director from

September 1998 through January 2003.

G.   Defendant McDaniel Is Neither Disinterested Nor Independent

         107. Defendant McDaniel previously served as Senior Vice President of Graham

Holdings Company (“Graham Holdings”), and its predecessor companies from June 2008 to April

2015. McDaniel is currently a consultant to Graham Holdings. Diller, until his resignation on

January 11, 2017, was a director of Graham Holdings and a member of the Compensation

Committee of the Board.        As such he was responsible for reviewing and approving the

compensation of McDaniel and other members of Graham Holdings’ senior management

(including, among other elements of compensation, annual base salary, annual incentive

opportunities and long-term incentive opportunities), as well as overseeing the administration and

determination of awards under Graham Holdings’ compensation plan.

         108. Further, Defendant McDaniel improperly benefitted by the improper scheme

described herein. McDaniel, while in possession of material, adverse information that the FTC

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was investigating the Company’s practices, and without disclosure of the investigation to the

Company’s stockholders and the investing public, sold 27,546 Match Group shares for proceeds

of $1,199,698.30.

H.   The Individual Defendants Face a Substantial Likelihood of Liability

           109. The Individual Defendants have participated in, known, disregarded and/or directly

benefitted from the wrongs complained of herein.

           110. Match Group has been, and will continue to be, exposed to significant losses due

to the wrongdoing complained of herein. The Individual Defendants have not attempted to recover

the damages the Company has suffered or will suffer thereby. Further, the Individual Defendants

have not taken any action against the parties responsible for the wrongdoing alleged and permitted

them to continue to officiate in the same capacities as they served at the time of the wrongdoing

alleged.

           111. Each of the Individual Defendants faces a substantial likelihood of liability for his

or her own individual misconduct. Each had a fiduciary duty to ensure that the Company’s SEC

filings, press releases, and other public statements and presentations on behalf of the Company

were complete and accurate. Each was faced with red flags of improper conduct, but failed to take

action to prevent, or at least minimize, the damages to Match Group and its shareholders caused

thereby. Each failed to ensure that material information was timely disclosed, rather than

concealed, and that proper and adequate internal controls and governance procedures were

implemented and maintained.

           112. The Individual Defendants owed and continue to owe a further duty to ensure that

information about the effectiveness of the Company’s internal controls was and is accurate, that

disclosure controls and procedures were and are effective, and that material changes in risk factors

were and are disclosed. Further, the Individual Defendants were and are obligated to oversee the

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internal governance and accounting controls and procedures to ensure that SEC filings accurately

reflected the Company’s true financial condition and business prospects.

         113. Moreover, the Individual Defendants comprising the Audit Committee and

Compensation and Human Resources Committee either participated in or turned a blind eye to the

scheme complained of herein. They also failed to make certain that adequate controls and

procedures were in place to prevent such an illegal scheme from being perpetrated to the detriment

of the Company and its shareholders.

         114. These Defendants, if demand were made of them, would have to evaluate whether

to sue themselves and/or their fellow directors in evaluating the wrongdoing alleged and the

request to bring an action for their breaches of fiduciary duties. There is reasonable doubt that this

is something they would or could do. Therefore, these Defendants cannot act in a manner

necessary to preserve their independence and disinterest.

I.   Demand is Futile as to the Audit Committee Defendants

         115. The Audit Committee directors (Chairperson Spoon, McInerney, and Seymon) also

cannot fairly consider a demand with the required disinterest and independence by virtue of their

own violations of the federal securities laws and breaches of fiduciary duties.

         116. The members of the Audit Committee lack independence and disinterest because

they, among other things, violated their duties mandated by the Audit Committee Charter; namely,

oversight of: (i) the Company’s accounting and financial reporting; (ii) internal control systems;

(iii) the performance of the Company’s internal audit function and independent auditor; and (iv)

ensuring compliance with legal and regulatory requirements.

         117. The members of the Audit Committee were faced with red flags of improper

conduct in violation of legal and regulatory requirements, but failed to take action to prevent, or at

least minimize, the damage caused to the Company and its stockholders thereby.

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J.   Demand is Futile as to the Compensation and
     Human Resources Committee Defendants

         118. The Compensation and Human Resources Committee Defendants (Chairperson

McDaniel and Seymon) were and are required by its Charter to assist the Board in fulfilling its

responsibilities relating to the compensation of executives and directors, but in violation of their

fiduciary duties, these Defendants failed to perform that required role.

         119. Match Group has been materially damaged by the misconduct of its directors and

officers, but the Compensation and Human Resources Committee has not disclosed any action that

it has taken to recoup any of those damages from those responsible or to adjust the compensation

of any directors and officers in light of their participation in the misconduct specified herein.

K.   Demand is Futile as to the Individual Defendants for Additional Reasons

         120. Match Group’s Board has already demonstrated that it cannot consider a pre-suit

demand to bring the claims set forth herein with the required disinterest and independence. The

Board has taken no action to address the harm the Individual Defendants’ misconduct has caused

the Company.

         121. Further, in order to bring this action for breach of fiduciary duties, the members of

the Match Group Board would be required to sue themselves and/or their fellow directors and

officers with whom they have entangling alliances, interests, and dependencies, which they would

not do. As such, the Individual Defendants cannot act in a disinterested and independent manner

in considering a demand.

         122. Finally, demand would be futile because publicly traded companies, such as Match

Group, typically carry director and officer liability insurance from which Match Group could

potentially recover some or all of its losses. However, such insurance typically contains an




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“insured vs. insured” disclaimer that would foreclose a recovery therefrom if the Company sues to

recover its damages from the Individual Defendants. As such, demand is futile.

                                              COUNT I

    (Violations of Section 14(A) of the Exchange Act Against the Individual Defendants)

           123. Plaintiff incorporates by reference and realleges each and every above allegation as

though fully set forth herein, except for allegations of reckless or knowing or fraudulent conduct

by the Defendants, which are not referred to or incorporated for the purpose of this claim.

           124. The Section 14(a) Exchange Act claim alleged herein is based solely on negligence.

The Section 14(a) Exchange Act claim alleged herein does not allege and does not sound in fraud.

Plaintiff specifically disclaims any allegation of, reliance upon any allegation of, or reference to

any allegation of fraud, scienter, knowing conduct or recklessness regarding these non-fraud

claims.

           125. The Individual Defendants negligently issued, caused to be issued, and participated

in the issuance of materially misleading written statements to stockholders in the 2018 Proxy and

2019 Proxy. The 2018 Proxy and 2019 Proxy each contained a description of the Company’s

oversight of risk management. The 2018 Proxy states:

          Company management is responsible for assessing and managing the Company’s
          exposure to various risks on a day-to-day basis, which responsibilities include the
          creation of appropriate risk management programs and policies. Company
          management has developed and implemented guidelines and policies to identify,
          assess and manage significant risks facing the Company. In developing this
          framework, the Company recognized that leadership and success are impossible
          without taking risks; however, the imprudent acceptance of risks or the failure to
          appropriately identify and mitigate risks could adversely impact stockholder value.
          The Board is responsible for overseeing Company management in the execution of
          its responsibilities and for assessing the Company’s approach to risk management.
          The Board exercises these responsibilities periodically as part of its meetings and
          through discussions with Company management, as well as through the Board’s
          Audit and Compensation and Human Resources Committees, which examine
          various components of financial and compensation-related risks, respectively, as
          part of their responsibilities. Information security is a key component of risk

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       management at Match Group and our Chief Technology Officer briefs the Audit
       Committee each quarter, and the full Board as appropriate, on the Company’s
       information security program and its related priorities and controls. In addition, an
       overall review of risks is inherent in the Board’s consideration of the Company’s
       long-term strategies and in the transactions and other matters presented to the
       Board, including significant capital expenditures, acquisitions and divestitures and
       financial matters. The Board’s role in risk oversight of the Company is consistent
       with the Company’s leadership structure, with the Chief Executive Officer and
       other members of senior management having responsibility for assessing and
       managing the Company’s risk exposure, and the Board and its committees
       providing oversight in connection with those efforts.

The Company’s Proxy Statement filed with the SEC on or about April 30, 2019 makes a nearly

identical representation regarding the Company’s risk management processes. The descriptions

provided in the 2018 Proxy and 2019 Proxy failed to disclose that the Company’s internal controls

were inadequate, and that the Board was not composed of members who could effectively perform

oversight duties and had failed to provide appropriate risk oversight of the Company’s activities.

By reason of the conduct alleged herein, the Individual Defendants violated Section 14(a) of the

Exchange Act. As a direct and proximate result of their wrongful conduct, Match Group misled

and/or deceived its stockholders by making misleading statements and omissions that were an

essential link in its stockholders heeding Match Group’s recommendation to approve the election

of certain individuals to the Board.

         126. The misleading information contained in the 2018 Proxy and 2019 Proxy was

material to Match Group’s stockholders in determining whether to elect certain individuals to the

Board. The solicitation process in connection with the 2018 Proxy and 2019 Proxy was an

essential link in the approval of the election of these individuals to the Board.

         127. Plaintiff, on behalf of Match Group, seeks relief for damages inflicted upon the

Company, as well as injunctive relief, based upon the misleading Proxy in connection with the

election of certain individuals to the Board.



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                                            COUNT II

               (Breach of Fiduciary Duties Against the Individual Defendants)

         128. Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         129. Each Defendant owed Match Group and its shareholders the highest duties of

loyalty, honesty, candor and care in conducting their affairs.

         130. At a minimum, to discharge these duties each Defendant should have exercised

reasonable and prudent supervision over the governance, management, policies, practices,

controls, procedures and financial affairs of the Company and to make sure that their own interests

were subservient to those of the Company. When significant wrongdoing arises, such as that

occurred here, the Board is required to initiate disciplinary action.

         131. The Individual Defendants also each owed a duty to ensure that at all times (i)

corporate actions were taken in furtherance of the Company’s interests and not the personal

interests of its directors and/or officers; (ii) the Company’s financial information was honestly

reported; (iii) disclosures were complete and accurate and did not omit material information

necessary to make the disclosures complete and accurate; (iv) proper accounting practices were in

place; and (v) public statements made by the Company were not false and misleading.

         132. The Individual Defendants should be required to remunerate Match Group for its

damages and disgorge any and all gains unjustly obtained at the expense of Match Group and its

shareholders as a result of the Individual Defendants’ breaches of their fiduciary duties.

         133. Accordingly, Plaintiff seeks on behalf of Match Group monetary damages,

injunctive remedies, and other forms of equitable relief.

                                            COUNT III

                    (Unjust Enrichment Against the Individual Defendants)

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          134. Plaintiff repeats and realleges each and every allegation set forth above as if fully

set forth herein.

          135. By their wrongful acts, violations of law, and false and misleading statements and

omissions of material facts that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, Match Group.

          136. The Individual Defendants either benefitted financially from their improper

conduct and their making lucrative insider sales or received unjustly lucrative bonuses tied to their

false and misleading statements, or received bonuses, stock options, or similar compensation from

Match Group that was tied to the performance or artificially inflated valuation of the Company, or

received compensation that was unjust in light of the Individual Defendants’ bad faith conduct.

          137. Plaintiff, as a shareholder and a representative of Match Group, seeks restitution

from the Individual Defendants and seeks an order from this Court disgorging all profits –

including from insider sales, benefits, and other compensation, including any performance-based

or valuation-based compensation – obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary duties.

                                            COUNT IV

                    (Derivatively Against All Defendants for Aiding and Abetting)

          138. Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          139. Each of the Defendants (other than nominal defendant Match Group) acted and is

acting with knowledge of or with disregard to the fact that the Defendants are in breach of their

fiduciary duties to Match Group and have participated in a conspiracy in breach of fiduciary duties.

          140. In committing the wrongful acts alleged herein, each of the Defendants have

pursued, or joined in the pursuit of, a common course of conduct. They have acted in concert with

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and conspired with one another in furtherance of their common plan or design. In addition to

pursuing the wrongful conduct that gives rise to their primary liability, the Defendants also aided

and abetted, and/or assisted, each other in breaching their respective duties.

         141. The Defendants collectively and individually initiated a course of conduct that was

designed to and did violate the federal securities laws, authorize corporate actions to serve their

own personal interests rather than the interests of the Company and its shareholders, misrepresent

material facts about the Company, its financial condition and business prospects, prevent the

disclosure of material information necessary to make statements complete and accurate, and failed

to implement and maintain an adequate system of internal controls and corporate governance

practices.

         142. The purpose and effect of the Defendants’ conspiracy, common enterprise, and/or

common course of conduct was, among other things, to disguise the Defendants’ violations of law,

including violations of the federal securities laws and breaches of fiduciary duty.

         143. Each of the Defendants played a direct, necessary, and substantial part in the

conspiracy, common enterprise, and/or common course of conduct complained of herein.

         144. Each of the Defendants aided and abetted and rendered substantial assistance in the

wrongs complained of herein. In taking such actions to substantially assist the commission of the

wrongdoing complained of herein, the Defendants acted with knowledge of the primary

wrongdoing, substantially assisted the accomplishment of that wrongdoing, and were aware of

their overall contributions to and furtherance of the wrongdoing.

WHEREFORE, Plaintiff prays for judgment as follows:

       A.      Declaring that the Plaintiff may maintain this action derivatively on behalf of

Match Group and that Plaintiff is an adequate representative;

       B.      Declaring that the Defendants have breached their fiduciary duties to Match
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Group, and/or aided and abetted the breach of their fiduciary duties as alleged herein;

       C.      Awarding money damages against all Defendants, jointly and severally, for the

losses and damages suffered as a result of the acts and transactions complained of herein.

       D.      Directing Defendants, jointly and severally, to account for all losses and/or

damages sustained by Match Group by reason of the acts and omissions complained of herein;

       E.      Requiring Defendants to remit to Match Group all of their salaries and other

compensation received for the periods when they breached their duties;

       F.      Ordering equitable and/or injunctive relief as permitted by law, equity, and

statutory provisions sued hereunder;

       G.      Awarding pre-judgment and post-judgment interest as allowed by law;

       H.      Awarding Plaintiff’s attorneys’ fees, expert fees, consultant fees, and other costs

and expenses; and

       I.      Granting such other and further relief as this Court may deem just and proper.

                                   JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury.

 Dated: February 28, 2020                           RIGRODSKY & LONG, P.A.

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